     Case 0:25-cv-61147-WPD Document 3 Entered on FLSD Docket 06/09/2025 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Southern District of Florida   [:]

               Dvash Aviation Holdings, LLC                     )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                V.                              )       Civil Action No. 0:25-cv-61147-WPD
                                                                )
            David Alan Boyer a/k/a Alan Boyer
                          and                                   )
                       Joel Plasco                              )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendants, name and address) David Alan Boyer
                                   a/kla Alan Boyer
                                   3135 Sheridan Ave.
                                   Miami, FL 33140




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                Maurice VerStandig
                                The VerStandig Law Firm, LLC
                                1452 W. Horizon Ridge Pkwy
                                #665
                                Henderson, Nevada 89012


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                  Jun 9, 2025
                                                                                       Signature of Clerk or Deputy Clerk
                                                                                                             s/ B. Chin
